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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         CIVIL NO. 20-1787(DSD/DLM)


Joseph Paul Baker,

                   Plaintiff,

v.                                                          ORDER

The City of Woodbury; John
Wallgren, individually and in
his official capacity; Chris
Klein, individually and in
his official capacity; and J.B.
Guiton, individually and in
his official capacity,

                   Defendants.



       Kenneth U. Udoibok, Esq. and Kenneth Ubong Udoibok, P.A.,
       The Flour Exchange, Suite 5010, 310 4th Avenue South,
       Minneapolis, MN 55415, counsel for plaintiff.

       Vicki A. Hruby, Esq. and Jardine Logan & O’Brien PLLP, 8519
       Eagle Point Boulevard Suite 100, Lake Elmo, MN 55042,
       counsel for defendants.


       This    matter   is   before   the   court    upon    the     motions       for

summary judgment and to exclude expert testimony by defendants

City of Woodbury (City), John Wallgren, Chris Klein, and J.B.

Guiton.       Based on a review of the file, records, and proceedings

herein, the court grants the motion for summary judgment and

denies the motion to exclude expert testimony as moot. 1


       1  Plaintiff Joeseph Baker argues that defendants exceeded
the    dispositive motion word-count limitation by filing two
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                                    BACKGROUND

     This action brought under 28 U.S.C. § 1983 arises out of

plaintiff    Joseph      Baker’s       employment          with     the    City     as    a

paramedic.     The City hired Baker in June 2018.                         Baker Dep. at

58:14-19.      In    addition     to    the       requisite       certifications         and

emergency    medical     skills,       the       City   required     paramedics        like

Baker   to     (1)     demonstrate           “effective         written       and      oral

communication        skills[;]”         (2)        “accept        criticism         and/or

discipline;”     (3)     “promote      a     cooperative          atmosphere      in     the

department;” (4) “have a positive attitude;” (5) engage maturely

with colleagues; and (5) “work effectively and respectfully with

department      heads,     elected           officials,         staff,      and        other


dispositive motions.    ECF No. 145, at 1 n.1   Defendants filed
one motion for summary judgment and one motion to exclude expert
testimony.    Defendant are permitted to separately brief such
motions and properly did so here.    Baker, however, effectively
exceeded his word-count limitation in opposition to defendants’
motion for summary judgment by filing a 5,972-word opposition
memorandum and a 9,748-word affidavit.         Parties may not
circumvent word-count limitations through narrative affidavits.
See BMC Software, Inc. v. Mahoney, No. 15-cv-2583, 2015 WL
3616069, at *1 n.1 (D. Minn. June 9, 2015) (noting that it is
“contrary to the spirit, if not the letter,” of Local Rule
7.1(f) to exceed the 12,000 word-count limit by filing a lengthy
affidavit that serves as a fact section).        The court will
consider the affidavit only to the extent it does not contradict
facts otherwise in the record.      See Herring v. Canada Life
Assur. Co., 207 F.3d 1026, 1030 (8th Cir. 2000) (holding that a
party “cannot create a ‘sham’ issue of fact in an effort to
defeat summary judgment by filing an affidavit directly
contradicting    prior   deposition  testimony”);   Conolly   v.
Clark, 457 F.3d 872, 876 (8th Cir. 2006) (“[A] properly
supported motion for summary judgment is not defeated by self-
serving affidavits.”).


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agencies[.]”        Hruby Decl. Ex. 1, at 2-3; see also Baker Dep. at

58:23-61:16.        Baker understood that he would be assessed on how

well he performed these essential job duties.                              Baker Dep. at

61:17-21.

       Baker   was       supervised       by        Emergency        Medical        Services

(EMS)/Fire Commander Chris Klein.                   Klein Dep. at 10:12-15; Baker

Dep. at 137:10-12.            Klein, in turn, reported to EMS/Fire Chief

John   Wallgren.         Wallgren     Dep.        at    7:12-15.          Guiton    was    the

Emergency Medical Services (EMS) Commander and also reported to

Wallgren.          Id.   at    9:2-8.          As      EMS    Commander,      Guiton       was

responsible for training in the EMS/Fire department.                                  Id. at

34:9-17.

I.     Education Group

       At   Guiton’s     suggestion,          Baker       joined    the     EMS    education

group in October 2018, after he completed field training.                              Baker

Dep.   at   80:8-15,      86:20-25;      Wallgren            Dep.   at    34:2-3.      Baker

understood that he could choose not to join the group without

negative consequences, as it was a voluntary position.                                 Baker

Dep. at 78:18-21; see also Trembley Dep. at 13:3-11.

       In   this    role,     which     was       under      Guiton’s      command,    Baker

facilitated, selected, and conducted paramedic training, along

with his colleagues Kevin Asauskas and Lauren Trembley.                                Baker

Dep. at 80:8-25; Asauskas Dep. at 9:17-10:16; Trembley Dep. at

11:11-12:9; Guiton Dep. at 21:19-22:4.                       The education group also

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assessed and maintained training documentation for submission to

the     Emergency         Medical     Services          Regulatory            Board    (EMSRB).

Trembley Dep. at 13:18-14:7.

       As a member of the education group, Baker had access to the

National      Registry       of     Emergency       Medical          Technicians         (NREMT)

records for each EMT employed by the City.                           Baker Dep. at 85:11-

86:9.       He would not otherwise have had such access.                                 Id. at

86:10-19.          Baker     maintains       that       because          he   served     on    the

education        group    voluntarily,       he     did    so       as    a   “concerned       ...

private      citizen,”       rather       than     in     his       capacity      as     a    City

employee.          Id. at 84:22-85:4.              There is no evidence in the

record      that    any    Woodbury       citizen       could       have      served     on    the

education        committee       absent     corresponding           employment         with    the

City.

II.    January 2019 Performance Appraisals

       In   January       2019,     Baker    underwent          a   six-month         evaluation

that included a performance appraisal submitted by Klein and a

self-appraisal.           Hruby Decl. Ex. 10.             Klein positively assessed

Baker’s     performance,          commenting       that    Baker         “has   an     excellent

working relationship with his crew members, which gives him the

potential for significant positive influence among his peers.”

Id.    at   4.      He    also    noted     that    Baker       has       “solid”      technical

ability with a “strong potential for excellence.”                                  Id.       Baker




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also received positive reviews for his work in the education

group.    Id.; Baker Dep. at 113:10-16.

       In his self-appraisal, Baker noted that he could improve in

several areas – only one of which was considered an area of

improvement by Klein – including leadership, technical skills,

safety, employee involvement, and mentorship.                 Hruby Decl. Ex.

10 at 6; see also id. at 2-3.            Baker believes that his January

2019 self-assessment was later used to retaliate against him for

raising    concerns   about   training    records,     which    he   discovered

through his work on the education group.              Baker Dep. at 103:16-

04:19, 106:7-25, 108:14-23.

III. Alleged Training Deficiencies

       On May 13, 2019, Baker told his education group colleagues

that he believed there were deficiencies in training records

submitted to NREMT.        Hruby Decl. Ex. 14; Asauskas Dep. at 11:8-

16;    Baker   Dep.   at   127:20-28:1.       Baker    was     concerned    that

paramedics may not have attended proper or sufficient courses to

maintain their required certifications.           Asauskas Dep. at 33:1-

4.    Asauskas recommended that Baker raise the issue with Guiton.

Id. at 13:23-14:6, 33:9-11.

       Baker   proactively    contacted     Regions     EMS    department      to

arrange for a refresher course before he met with Guiton and the

other members of the education group to discuss the perceived

training deficiencies.        Baker Dep. at 158:1-9, 159:9-13.              When

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Baker called Regions, he said that he did not want the City’s

EMS    training   records    to    be    “perceived       as   inappropriate       or

fraudulent.”      Id. at 158:12-17.          Asauskas was aware that Baker

planned to call Regions, but their superiors were not.                       Id. at

162:12-21.

       Unbeknownst to Guiton, Baker also sent an email raising

concerns about paramedic training to Dr. Burnett, the City’s

medical director, a Regions Hospital emergency room physician,

and an EMSRB board member.              Burnett Dep. at 45:1-46:1; Guiton

Dep. at 117:11-20.          Baker believed that Dr. Burnett could be

helpful    because   he   was     familiar    with    EMS      training     records,

requirements, and protocols.            Baker Dep. at 182:19-83:10.            Baker

explained that he called Regions the day before to inquire about

possible refresher courses due to errors in education reporting.

Hruby Decl. Ex. 15, at 1.            He detailed the perceived training

deficiencies and his concern that they could affect necessary

certifications.       Id.    at   1-2.       He   also    denied     that    he   was

accusing the City of engaging in fraudulent practices, although

he noted that it was a “concern” of his. 2               Id. at 1.    Dr. Burnett


       Baker now claims that he reported the alleged training
       2

deficiencies to Dr. Burnett as a whistleblower.   Baker Dep. at
195:10-17. He admits, however, that he did not file a complaint
with the EMSRB or any other agency. Id. at 195:24-98:4. He now
also claims that he made the report to Dr. Burnett “as a
concerned citizen, looking out for the City of Woodbury, [his]
colleagues and [himself].” Id. at 228:15-21.


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responded by asking Baker to include his chain of command on any

email communications with him.                   Hruby Decl. Ex. 4; Burnett Dep.

at 54:25-55:17.         Dr. Burnett acknowledged, however, that some of

the    concerns    raised      could       implicate        the     EMSRB    board,    which

oversees paramedic certification.                   Burnett Dep. at 46:13-17.

       Dr. Burnett then spoke with Guiton about Baker’s email.

Burnett Dep. at 47:16-48:5.                Dr. Burnett recommended that Guiton

self-report       the   issues        to   the     EMSRB    board     in    “abundance       of

transparency.”          Id. at 49:3-7.              Guiton responded that he was

aware of Baker’s concerns and would investigate. 3                            Id. at 48:7-

13.

       On May 29, 2019, Baker emailed Guiton explaining why he

contacted Regions about his certification concerns but denying

that he reported fraud by the City.                        Hruby Decl. Ex. 16.              The

two later met in person and, according to Baker, Guiton was

upset that Baker independently contacted Dr. Burnett.                                  Baker

Dep. at 129:3-6, 132:2-24.                    Baker alleges that Guiton leaned

towards him and said, “You’re lucky I couldn’t get my hands

around     your   throat    on    Thursday.”            Id.   at     129:3-6,     132:2-24.

Baker      explained    that     he    was    simply       trying    to     arrange   for     a



      Guiton later reported to Dr. Burnett that Baker’s concerns
       3

were unfounded and that there were no underlying training
issues.  Guiton Dep. at 124:9-28:7.   Guiton also reported that
he notified the EMSRB board of the issues raised in Baker’s
email. Burnett Dep. at 49:8-16.


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refresher          course       through       Dr.      Burnett      so    that     the    training

records were accurate.                   Id. at 129:15-18.               Guiton told Baker to

“take      care        of    it,”     which     Baker     interpreted       to    mean     that    he

should falsify recertification records. 4                          Id. at 149:5-25.

       Baker reported Guiton’s threat to Klein and Wallgren the

next day.          Baker Dep. at 135:9-23, 137:6-20.                        Wallgren reported

the    alleged          threat      to    the    City’s     human        resources       department

(HR).       Wallgren Dep. at 63:2-6.                     Wallgren also spoke to Guiton,

who     denied          threatening           Baker,      but     admitted        that     he     was

disappointed            that     Baker     took     an    internal        matter     to    a    third

party.          Wallgren Dep. at 62:2-22.                   Wallgren reminded Guiton to

maintain his professionalism.                       Id. at 63:17-24.              HR also spoke

with Guiton and told him to be cautious about how he speaks with

staff.          Guiton Dep. at 121:5-22.

       In September 2019, Wallgren met with Baker, Trembley, and

Asauskas          to        discuss      concerns        about     the     training       records.

Wallgren Dep. at 29:22-30:7, 35:9-22, 36:20.                                     Wallgren asked

them       to    provide       more      specific       information        in    writing,       which

Baker did soon thereafter.                        Id. at 30:2-7, 35:5-8; 36:13-15;

42:22-43:3.             Wallgren         then    met     with    Guiton     to    relay    Baker’s

       4 Soon after he joined the education group, Baker was
warned by another paramedic not to “do anything with paramedic
training records” if asked to so do by Guiton because “there was
a possibility that they would not be legitimate.” Baker Dep. at
90:4-16.   Although this so-called warning is rather vague, the
conversation may have led Baker to jump to the conclusion that
Guiton wanted him to falsify records.

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concerns.       Id. at 34:9-17, 42:3-7.              Guiton told Wallgren that

the matter was being addressed.              Id. at 42:13-16.

       Despite his ongoing concerns about training records, Baker

is unaware of any paramedic who lacked proper certification at

any time during his tenure with the City.                   Baker Dep. at 77:21-

78:2.

IV.    June 2019 Performance Appraisal

       In Baker’s June 2019 review, Klein noted that Baker needed

to    improve     with   respect        to    safety       and    problem/conflict

resolution.      Hruby Decl. Ex. 12, at 2.              As to the latter, Klein

commented     that    Baker    should    “[s]eek       solutions       to     eliminate

workplace/group drama by providing realistic/concrete solutions,

while being flexible with co-workers/supervisors insight.”                             Id.

at 4.     Klein also commented that Baker should “exclude himself

from the workplace ‘drama’” to allow him to maintain focus.                            Id.

at 3.

V.     Shooting Incident

       In July 2019, Baker responded to the scene of an officer-

involved    shooting.         Baker   Dep.    at     245:12-18.            According    to

Baker,     Wallgren    was    so   upset      that    so   many       of    the   City’s

ambulances were unavailable to take other emergency calls that

he called those on the scene to complain.                        Id. at 245:19-22.

Baker alleges that Wallgren’s conduct disrupted patient care.

Id. at 245-22-46:12.

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       Baker complained to Klein about Wallgren.                      Id. at 246:16-

23.    He also complained that he felt that the department was, at

times,      intentionally    understaffed.          Id.    at   252:2-21.         Baker

believes that his concerns about this incident factored into his

perceived performance issues, but there are no supporting facts

in the record.

       Baker’s colleagues reported to Klein that Baker had become

“disruptive” due to his belief that the issues he raised about

the officer-involved shooting were not being addressed.                           Klein

Dep. at 35:15-36:25.        Baker accused Klein of not being available

to address his concerns.         Id. at 41:1-25.

VI.    Ketamine Incident

       On    September     22,   2019,    Woodbury         Police      Sergeant        and

certified paramedic Tom Ehrenberg responded to a call involving

someone in a mental health crisis.              Ehrenberg Dep. at 5:8-6:24,

10:2-11, 13:6-9.         Paramedics were also called, among them Baker.

Id. at 14:16-15:2.

       Ehrenberg     observed      that       the     person         was   “extremely

volatile.”       Id. at 15:8-12, 27:16-18.                As a result, he asked

Baker to prepare a sedative in the form of Ketamine to calm the

person, if needed.         Id. at 15:16-16:11.          According to Ehrenberg,

Baker’s “body language indicated that he was not prepared and

not willing” to do so.            Id. at 16:14-16.              Ehrenberg and his

partner were ultimately able to remove the person from the scene

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without    the    use     of   a    sedative.            Id.      at    21:8-22:8,        30:3-25,

34:18-19.

     Ehrenberg       denies        that      he    instructed          Baker    to      administer

ketamine, and maintains that he simply wanted it to be ready if

it was needed.       Id. at 29:20-30:2; see Hawkinson Dep. at 24:4-10

(testifying that Ehrenberg asked paramedics to have the ketamine

“drawn     up”    due     to       safety      concerns);           see    id.       at    38:9-13

(testifying that Ehrenberg did not order Baker to administer

ketamine).         Ehrenberg          felt        that    he      and     Baker      could      have

communicated more effectively.                    Ehrenberg Dep. at 35:5-15.

     Baker was upset that Ehrenberg put him in a position to

administer       Ketamine      when     he     had      not     been    able    to      personally

assess the patient.              Id. at 36:15-24.                 At the time, Baker did

not know that Ehrenberg was also a paramedic and therefore able

to assess the patient’s need for ketamine.                                 Id. at 36:12-14.

Ehrenberg asked to speak with Baker after the incident.                                    Id. at

37:11-17.        A witness observed the conversation and described it

as “pretty intense” and an “argument.”                           Hawkinson Dep. at 37:19.

The conversation ended well, however.                         Id. at 37:20-23.

     Baker       admits     that      Ehrenberg          simply         asked     him     to    have

ketamine     ready      and      that     he      was    not      ordered       to      administer

ketamine.          Id.      at      261:1-9,            264:3-17,         270:1-9.             Baker

nevertheless complained to Klein about the incident.                                       Id. at

273:8-13.

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       Baker    claims       that    “on    a    number        of     occasions,”      another

unidentified      paramedic         directed         Baker     to    “get     [his]   ketamine

ready” before he was able to assess the patient.                               Baker Dep. at

255:9-15.        Baker refused each time.                      Id. at 15-17.            He now

contends, without factual support, that the City commonly forces

ketamine on its citizens.             See Compl. ¶¶ 92-93.

VII. Performance Improvement Plan

       On November 19, 2019, Klein placed Baker on a Performance

Improvement Plan (PIP) due to his increasingly poor attitude and

communication.          See Hruby Decl. Ex. 37; Brown Dep. at 8:12-25;

Klein Dep. at 34:21-24.              Baker’s attitude began to change in the

summer of 2019.          Wallgren Dep. at 14:16-21.                     When he was first

hired, Baker was “very warm,” “very excited,” “engaged,” and

“motivated.”          Id. at 15:19-23.           By the summer of 2019, however,

Baker    became       “cold”   and     “short”         in     his     communications         with

Wallgren and his peers.              Id. at 15:8-16:24.                 Baker also failed

to communicate regularly with Klein between July and October

2019,   and     did    not   communicate         properly           through    his    chain   of

command when addressing perceived EMS training issues.                                   Klein

Dep.    at   40:15-20,       58:5-59:20.             Klein      denies       that    Baker    was

placed on the PIP because of his concerns about the EMS training

records.       Id. at 87:10-20, 97:13-18.

       In discussing the PIP recommendation with Wallgren and HR,

Klein explained that Baker had become persistently focused on

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the     paramedic     certification        issue.           Hruby     Decl.   Ex.      31.

Notwithstanding that, Kelin did not believe that the PIP would

implicate     Baker     as    a     whistleblower        with       respect   to       EMT

certifications,       as     he    had    other      issues,    like     “unfavorable

interactions” with co-workers. 5            Id.

       Wallgren and Klein met with Baker to discuss the PIP on

November 19, 2019. 6         Wallgren Dep. at 12:6-13.                 Neither viewed

the PIP as disciplinary in nature.                  Id. at 14:2-5; Klein Dep. at

47:14-17.

       At the meeting, Klein explained that the PIP was due to

Baker’s    ongoing    need    to    improve     in    the    following    areas:       (1)

problem/conflict       resolution,        (2)     cooperation/safety,         and      (3)

communication. 7      Hruby Decl. Ex. 37, at 1.                The PIP states that

Baker was required to make immediate changes and that failure to

do so could be met with disciplinary action.                          Id. at 2.         As


       5The email in which Klein made these comments reads as
follows: “I just want to make sure that my response to placing
Joe on a PIP would reflect as him being a ‘whistleblower’ for
the EMS education matter.”      Id.   In his deposition, Klein
explained that his email included a typo because he meant to say
that the PIP would not reflect that Baker was a whistleblower.
Klein Dep. at 85:3-14.

      Wallgren did not take part in drafting the PIP. Wallgren
       6

Dep. at 11:15-12:3.    Guiton did not participate in the PIP
meeting. Baker Dep. at 278:13-16.
       7 The PIP does not reference Baker’s allegations about
ketamine,   the  officer-involved  shooting,  or   intentional
understaffing.  See Hruby Decl. Ex. 37; Baker Dep. at 284:24-
85:9.


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reflected in the PIP, the City was not concerned about Baker’s

ability to treat patients, but rather his “attitude” and the

fact that he was causing “a disruption within the organization

and his coworkers.”            Id. at 13:6-12.              Indeed, Wallgren described

Baker    as   a     “very    good    medic.”          Id.     at    13:6.       The     PIP    was

designed      to     help     Baker       “reengage[]”           and    communicate           more

effectively with colleagues.                Id. at 13:19-14:1.

     With         respect     to     problem/conflict               resolution        the      PIP

required      Baker     to    schedule          weekly      meetings         with   Klein      “to

discuss    accomplishments,              issues      and/or     opportunities         from     the

previous and upcoming shifts.”                    Hruby Decl. Ex. 37, at 3.                 As to

cooperation/safety, the PIP required Baker to schedule monthly

meetings      with    Guiton       “to    perform      a    review     of     previous      calls

and/or     EMS       procedures          that     have       been      performed.”             Id.

Similarly, as to communication issues, Baker was required to

schedule      a    monthly     meeting       with      an     on-duty        Woodbury    Police

Sergeant.         Id. at 5.

     Baker claims that Klein told him that he was placed on a

PIP for refusing to administer ketamine.                           Baker Dep. at 282:1-4.

Other than Baker’s testimony on this point, however, there is no

evidence in the record supporting his contention.                               The PIP does

not mention the ketamine incident and there are no emails or

other documents that mention the incident vis-à-vis the PIP.




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     Baker     was    upset     that       the    PIP     referenced           his    personal

appraisals from January 2019.                Baker Dep. at 285:23-86:18.                    He

maintains that he would not have listed any areas of improvement

had he known they would lead to a PIP.                           Id. at 286:24-87:5.

Defendants deny that Baker’s January self-appraisal had anything

to do with the November PIP.

VIII.        Post-PIP Complaint

     The evening of the PIP meeting, Baker sent an email to HR

complaining    that    he     was    being       mistreated      due     to     his    reports

regarding certification deficiencies.                    Hruby Dec. Ex. 38, at 2.

He claimed that his concerns went unaddressed and that he was

frustrated by the lack of response given that EMS certifications

were in jeopardy.        Id.        He was also frustrated that Guiton was

his primary point of contact as to certification issues.                                   Id.

He requested a meeting with HR and the City Administrator to

address his “mistreatment.”                Id. at 3.          The next morning, HR

manager Brown responded that she would review Baker’s concerns

with the public safety director and provide a response “in the

near future.”     Id. at 1.

     On November 30, Baker asked Ehrenberg to meet monthly as

part of his PIP.       Hruby Dec. Ex. 29.               He also apologized for any

ongoing   tension      over     the    ketamine         issue.           Id.         Ehrenberg

responded that their issue was resolved amicably and that he was

happy to meet with Baker.            Id.

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       On   December     10,    Brown      responded        to    Baker’s       complaint.

Hruby Decl. Ex. 36, at 3.                  She noted that the PIP was not a

“disciplinary action” and that the PIP was appropriate, easily

achievable, and did not constitute mistreatment.                         Id. at 1.

       On the issue of certification deficiencies, she responded

that     his     concerns     were   unfounded        and        that    the     City     was

undergoing an audit to confirm that finding.                            Id. at 4.       With

respect to problem/conflict resolution, Brown noted that Baker

showed a “[c]onsistent negative attitude,” gave his supervisor

“the    silent      treatment,”      and    responded       angrily        to    a   police

sergeant’s directive.          Id. at 5.

       As      to   Baker’s    required          meetings        with    Guiton,        Brown

concluded that Wallgren should also attend the meetings, given

Baker’s history with Guiton.               Id. at 4; Baker Dep. at 142:10-16.

Despite     this    change,     Baker      contends    that        the    City    condones

physical threats because he was initially required to meet with

Guiton one-on-one.          Baker Dep. at 140:6-41:8.

IX.    New Employment

       On November 20, 2019, the day after the PIP meeting, Baker

applied for, and was later offered, an EMT position elsewhere.

Hruby Decl. Ex. 39.           On December 5, before HR could complete its

investigation, Baker submitted his resignation and two weeks’

notice to the City.            Hruby Decl. Ex. 44; Baker Dep. at 304:8.

The City accepted his resignation, later determining that Baker

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was not eligible for re-hire due to his communication issues.

Klein Dep. at 93:1-13.

X.     This Action

       Baker commenced this action on August 17, 2020, alleging

that (1) Wallgren, Klein, and Guiton retaliated against him for

exercising his First Amendment right to free speech; (2) the

City   infringed     on   his   civil    rights   by   failing      to    adequately

train, supervise, and discipline its employees in violation of

Monell v. Department of Social Services, 436 U.S. 658 (1978),

thus leading to the First Amendment violation; and (3) the City

violated    the    Minnesota     Whistleblower      Act    (MWA),     Minn.    Stat.

§ 181.932, by constructively discharging him after he complained

about paramedic training records.                 He seeks compensatory and

punitive    damages,      as    well    as    expungement      of    any    adverse

personnel    records      and   an   order    enjoining    the     City    from     its

“practice of coercing paramedics to sedate unwilling citizens.”

ECF No. 1, at 29.         Defendants now move for summary judgment and

to exclude expert testimony.



                                     DISCUSSION

I.     Standard of Review

       “The court shall grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.”                         Fed. R.

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Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986).     A fact is material only when its resolution affects the

outcome of the case.            Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986).           A dispute is genuine if the evidence is such

that it could cause a reasonable jury to return a verdict for

either    party.       See      id.    at    252.       On    a   motion      for    summary

judgment, the court views all evidence and inferences in a light

most favorable to the nonmoving party.                     Id. at 255.

       The nonmoving party, however, may not rest on mere denials

or allegations in the pleadings, but must set forth specific

facts sufficient to raise a genuine issue for trial.                                Celotex,

477 U.S. at 324.               A party asserting that a genuine dispute

exists - or cannot exist - about a material fact must cite

“particular parts of materials in the record.”                           Fed. R. Civ. P.

56(c)(1)(A).          If   a    plaintiff         cannot     support     each     essential

element     of    a   claim,     the    court       must     grant    summary       judgment

because     a    complete      failure       of    proof     regarding       an   essential

element     necessarily          renders          all   other        facts    immaterial.

Celotex, 477 U.S. at 322-23.

II.    First Amendment Claim

       Baker claims that defendants Wallgren, Klein, and Guiton

retaliated against him for questioning the EMS training records

and complaining about Ehrenberg’s request to prepare ketamine by




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placing him on a PIP, in violation of his right to free speech

under the First Amendment.

       To establish a First Amendment retaliation claim, a public

employee, such as Baker, must show that: “(1) he engaged in

activity protected by the First Amendment; (2) the defendants

took    an   adverse         employment      action          against       him;    and     (3)    the

protected conduct was a substantial or motivating factor in the

defendants’        decision       to    take      the       adverse    employment          action.”

Lyons v. Vaught, 875 F.3d 1168, 1172 (8th Cir. 2017).                                    All three

factors are at issue here.

       A.     Protected Activity

       “First Amendment protection of a public employee’s speech

depends      on    a    careful    balance         ‘between       the      interests        of    the

[employee], as a citizen, in commenting upon matters of public

concern      and       the   interest       of    the       State,    as    an     employer,       in

promoting the efficiency of the public services it performs.’”

Id.    (quoting        Pickering       v.   Bd.        of    Educ.,    391    U.S.       563,     568

(1968)).           Generally           speaking,            public     employees           do     not

“relinquish        First      Amendment          rights      to   comment        on   matters      of

public interest by virtue of government employment.”                                  Connick v.

Myers, 461 U.S. 138, 140 (1983).

       To    determine         whether       the        employee       engaged        in    speech

protected by the First Amendment, the court must first consider

whether “the employee spoke as a citizen on a matter of public

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concern.”    Garcetti v. Ceballos, 547 U.S. 410, 418 (2014).                        “If

the answer is no, the employee has no First Amendment cause of

action based on his ... employer’s reaction to the speech.”                     Id.

If the answer is yes, then a First Amendment claim may be viable

if the government entity lacked an “adequate justification for

treating the employee differently from any other member of the

general public.”      Id.

     “[W]hen public employees make statements pursuant to their

official duties, the employees are not speaking as citizens for

First Amendment purposes, and the Constitution does not insulate

their communications from employer discipline .... Restricting

speech    that      owes    its   existence       to     a   public     employee's

‘professional responsibilities does not infringe any liberties

the employee might have enjoyed as a private citizen.                         Id. at

421–22.     “The critical question ... is whether the speech at

issue is itself ordinarily within the scope of an employee’s

duties, not whether it merely concerns those duties.”                        Lane v.

Franks, 573 U.S. 228, 240 (2014).                “[D]etermining the scope of

an employee’s official duties for these purposes is a practical

inquiry   that   focuses     on   ‘the   duties     an   employee     actually      is

expected to perform,’ rather than his formal job description.

McGee v. Pub. Water Supply Dist. #2, 471 F.3d 918, 921 (8th Cir.

2006)    (quoting     Garcetti,    457    U.S.    at     424-25).       “A    public

employee’s speech is not protected by the First Amendment if it

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‘owes its existence’ to his professional responsibilities.”                                    Id.

(quoting Garcetti, 457 U.S. at 421).

       So,   the   question         presented        is   whether       Baker’s           stated

concerns about the EMS training records and Ehrenberg’s request

for him to prepare ketamine were made within the scope of his

duties.      The record establishes that they were, despite Baker’s

insistence     that    he    was     acting    simply     as    a     concerned       citizen

regarding both matters.

       When Baker made statements about the training records, the

undisputed facts show that he did so within the scope of his

duties as a member of the education group.                       In that role, Baker

was     responsible         for,     among     other      things,          assessing           and

maintaining training documentation for submission to the EMSRB.

Baker    discovered     the        alleged    deficiencies          when      carrying         out

those    duties.       He    would    not     have    been     able     to    make    such       a

discovery     without        access    to     the     training        records        of    each

paramedic, along with their corresponding certifications.                                 It is

undisputed that those detailed records are not available to the

general      public.           Further,        Baker      reported            the     alleged

deficiencies to his superiors after first discussing it with his

fellow education group members, thus tying his concerns directly

to his role in the education group rather than merely as a

concerned     citizen.         Under    these        circumstances,           there       is    no

serious debate that Baker’s speech owes its existence to his

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professional responsibilities and therefore is not protected by

the First Amendment.

       The   fact   that    Baker    voluntarily          agreed     to     serve      in    the

education group does not change the court’s analysis.                               Once he

became a member of the group, he had specific responsibilities,

including education programming and training documentation, both

of which were at issue in his complaints.                           His concerns about

those    matters    arose   directly        from       his   role    in    the    education

group and he attempted to resolve them as a member of that

group.

       And, although he now claims that he spoke to Dr. Burton as

a concerned citizen rather than a City employee, his email to

Dr. Burton does not support this assertion.                         The email explains

Baker’s perceived issues with training records and seeks ways to

correct those records.          See Hruby Dec. Ex. 15.                    He does not say

that    he   is   making    a   report      as     a    citizen      or    employee,        and

specifically        notes   that      his    “intention           was      not    to        make

accusations but to find a solution to the issue.”                          Id.

       As    to   the   ketamine     incident,         Baker    complained        to    Klein

after    Ehrenberg      asked   to    draw       up    ketamine.           This     occurred

squarely within Baker’s role as an EMT and he makes no credible

claim to the contrary.

       Accordingly, Baker’s speech is not protected by the First

Amendment and his claim fails on this basis alone.

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       B.      Adverse Employment Action

       Even if Baker’s complaints were made as a concerned citizen

rather than a member of the education committee or as an EMT, he

has failed to establish that he suffered an adverse employment

action.

       “An    adverse     employment      action      is      a    tangible    change     in

working       conditions     that        produces         a       material     employment

disadvantage.”        Clegg v. Ark. Dep’t of Corr., 496 F.3d 922, 926

(8th Cir. 2007) (citation omitted).                   Adverse employment actions

typically include “[t]ermination, cuts in pay or benefits, and

changes that affect an employee’s future career prospects” and

“circumstances        amounting     to    a    constructive          discharge.”         Id.

(citation omitted).

       Baker     claims    that   he      suffered         two     adverse     employment

actions: (1) the PIP, and (2) constructive discharge.                              The facts

do not support either claim.

       First,     a   “PIP    alone      does       not       constitute      an     adverse

employment action.”          Fiero v. CSG Sys., 759 F.3d 874, 880 n.2

(8th Cir. 2014).          “[T]his rule applies with particular force to

PIPs that are reasonable and/or minimally onerous.”                            Bernard v.

St. Jude Med. S.C., Inc., 398 F. Supp. 3d 439, 461 (D. Minn.

2019).       There is no serious dispute that the PIP here was both

reasonable, minimally onerous, and easily achievable.                               The PIP

was     narrowly      tailored      to        address         Baker’s    attitude        and

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communication issues.            It required Baker to meet weekly with

Klein, monthly with Guiton (later amended to meet monthly with

Guiton and Wallgren), and monthly with a police sergeant.

       Even if these meetings could be considered a change in his

duties working conditions, which the court would be hard pressed

to find, they were minor changes that were actually beneficial

to Baker.      See Higgins v. Gonzales, 481 F.3d 578, 584 (8th Cir.

2007) (“Minor       changes      in    duties       or     working    conditions,          even

unpalatable        or   unwelcome       ones,        which       cause      no     materially

significant        disadvantage,       do     not”       rise    to   the     level      of   an

adverse     employment     action.”).               Indeed,       Baker      was    keen      to

increase     his    communications           with    his     superiors,          which   these

meetings allowed him to do on a regular basis.                              See Baker Dep.

at 288:15-22.

       Baker suggests that the PIP was onerous because it required

him    to   meet    one-on-one        with    Guiton        despite        their    difficult

interaction months prior.              But HR readily made a change to that

requirement to add Wallgren as a participant to the meetings

once it was called to their attention.                          This change shows that

the meeting requirement was a simple oversight rather than an

attempt to adversely affect Baker’s employment.

       Baker   next     argues    that       he     was    constructively          discharged

because he was subject to a hostile work environment.                                 He also




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bases this argument on the requirement that he meet with Guiton,

who threatened him six months prior.

       “To        establish        a    case        of        constructive         discharge,          [a

plaintiff]         must     show       that   (1)        a    reasonable         person       in    [his]

situation would find the working conditions intolerable, and (2)

the    employer       intended          to    force          [him]    to       quit.”      Rester      v.

Stephens Media, LLC, 739 F.3d 1127, 1132 (8th Cir. 2014).                                               A

claim       for    constructive          discharge             requires         considerably        more

proof       than    an     “unpleasant             and       unprofessional             environment.”

Jones v. Fitzgerald, 285 F.3d 705, 716 (8th Cir. 2002).                                                “A

constructive         discharge          arises      only        when       a    reasonable         person

would find the conditions of employment intolerable.”                                          Tidwell

v. Meyer’s Bakeries, Inc., 93 F.3d 490, 494 (8th Cir. 1996)

(citation omitted).                To act reasonably, however, “an employee

has    an    obligation       not       to    assume          the    worst       and     to    jump   to

conclusions           too      quickly.”                       Id.     (citation              omitted).

“[C]onstructive discharge claims fail as a matter of law where

the employee has not given the employer a reasonable opportunity

to correct the intolerable condition before the employee quits.”

Lisdahl      v.     Mayo    Found.,          633    F.3d       712,    719       (8th     Cir.      2011)

(citations omitted).

       Baker has failed to establish that he was constructively

discharged.         He argues that Guiton’s single threat, coupled with

the PIP, constituted constructive discharge.                                     He characterizes

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the threat as creating a hostile work environment, particularly

given that the PIP required him to meet one-on-one with Guiton.

But     a hostile      work     environment            does     not     exist     when       the

“offensive      conduct       consists       of     offhand     comments       and isolated

incidents.”      Bainbridge v. Loffredo Gardens, Inc., 378 F.3d 756,

759 (8th Cir. 2004) (citation omitted).                         There is no question

that Guiton’s threat was an isolated incident.                               That said, it

was far from ideal for the PIP to require Baker to meet alone

with Guiton given their history.                        Baker appropriately raised

this    issue    with     HR,      but     before      it     could     be   resolved,        he

submitted his resignation.                  After his resignation, but before

his     last    day,     HR     agreed         with     Baker     that       it   would       be

inappropriate       to    require        him      to   meet    with     Guiton     and    made

appropriate     changes       to     the    PIP.        Under    these       circumstances,

Baker did not give the City a reasonable opportunity to correct

the issue, which precludes a finding of constructive discharge.

       In addition, there is no evidence to support a finding that

defendants      intended      to     force      Baker    to     quit.        There     are    no

emails, documents, or deposition testimony that even hint at any

such intention.

       To the extent Baker bases this claim on the fact that the

City determined that he was ineligible for rehire, the court is

unpersuaded.        The       City    made      that    determination          after     Baker




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resigned and began working elsewhere.                           As a result, it had no

bearing on the conditions of Baker’s employment.

       C.        Causal Connection

       There is also no causal connection between Baker’s speech

and the alleged adverse employment action.                             Other than Baker’s

belief,      there       is   no    evidence        that    the    PIP   was    designed      to

retaliate against him for his statements.                           Rather, the PIP and

other relevant documents provide no basis for concluding that

defendants        designed         the    PIP     to   retaliate     against      him.       The

record      is        replete      with    examples        of     Baker’s      attitude      and

communication issues that amply support the need for a PIP. 8

III. Monell Claim

       Baker argues that the City violated Monell v. Department of

Social Services of the City of New York, 436 U.S. 658 (1978), by

ignoring         employee       complaints,        violating      standards       in   patient

care       and    training,         and     retaliating         against      employees       for

exercising their constitutional rights.                         His claim is untenable.

       Under Monell, “a municipality may be held liable for the

unconstitutional acts of its officials or employees when those

acts implement or execute an unconstitutional municipal policy

or custom.”           Mettler v. Whitledge, 165 F.3d 1197, 1204 (8th Cir.

1999).           To     establish         municipal        liability      under    § 1983      a

       8 Given that plaintiff has failed to establish a claim
under the First Amendment, the court will not consider arguments
relating to qualified immunity.

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plaintiff must demonstrate that a municipal policy or custom was

the “moving force [behind] the constitutional violation.”                                 Id.

at    694.     In   other    words,    where       there    is   no      constitutional

violation, there can be no liability under Monell.

       As    discussed      above,    Baker    has     failed       to       establish       a

violation      of     his     First     Amendment          rights        –     the        only

constitutional violation alleged in this case.                      As a result, his

Monell claim fails as a matter of law.

IV.    MWA Claim

       Baker claims that the City violated the MWA by allowing

Guiton to threaten him, placing him on a PIP, and forcing him to

resign.

       The MWA protects an employee who, in “good faith, reports a

violation,     suspected      violation,      or    planned      violation           of    any

federal or state law ....”            Minn. Stat. § 181.932, subdiv. 1(1).

The court analyzes MWA claims under the framework of McDonnell

Douglas Corp. v. Green, 411 U.S. 792 (1973).                     See Buytendorp v.

Extendicare Health Servs., Inc., 498 F.3d 826, 834 (8th Cir.

2007); Cokley v. City of Otsego, 623 N.W.2d 625, 630 (Minn. Ct.

App. 2001).         Under McDonnell Douglas, a plaintiff must make a

prima facie showing of an MWA violation by proving that (1) he

engaged in a statutorily protected activity, (2) he suffered an

adverse employment action, and (3) there is a causal connection

between the two.         Eliserio v. United Steelworkers of Am. Local

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310, 398 F.3d 1071, 1078-79 (8th Cir. 2005); Cokley, 623 N.W.2d

at 630.

       Even if Baker engaged in statutorily protected activity by

addressing   his    concerns      about   paramedic    training,      he    cannot

establish that he suffered an adverse employment action tied to

that   activity    for   the   reasons     already    stated     above.      As    a

result, his MWA claim also fails.



                                  CONCLUSION

       Accordingly, IT IS HEREBY ORDERED that:

       1.   The    motion   for    summary     judgment    [ECF     No.    73]    is

granted;

       2.   The motion to exclude expert testimony [ECF No. 121]

is denied as moot; and

       3.   The case is dismissed with prejudice.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: December 20, 2023

                                             s/David S. Doty
                                             David S. Doty, Judge
                                             United States District Court




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